                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       MISCELLANEOUS ORDER 3:21-MC-00003
                                                                                      FILED
                                                                                     Charlotte
 IN RE:                                                                            Jan 11 2021
       STANDARD SEX OFFENDER                                                U.S. District Court
      CONDITIONS OF PROBATION                                             Western District of N.C.
       AND SUPERVISED RELEASE
                                                              ORDER




       THIS MATTER is before the Court to review the existing sex offender standard
conditions of probation and supervised release in force in this District, as authorized by 18
U.S.C. 3563 and 3583, respectively, and to add to them certain conditions heretofore
commonly imposed as special conditions, in order to promote uniformity and to expedite the
sentencing process.


       IT IS, THEREFORE, ORDERED that the following shall be imposed and are hereby
deemed to be imposed as conditions of supervised release and probation for all such terms of
supervised release and probation given on or after January 1, 2021, for any person
convicted of a sex offense or child pornography offense, unless affirmatively omitted by
the presiding judge. Any reference in a Judgement or pronouncement of sentence to the
StandardSexOffenderConditions ofSupervised Release as adopted in the Western District
of North Carolina or the Standard Sex Offender Conditions of Probation as adopted in the
Western District of North Carolina are hereby deemed to refer to and incorporate the
following language:


   I. The defendant shall have no direct or indirect contact, at any time, for any reason
      with any victim(s), any member of any victim's family, or affected parties in this
      matter unless provided vvith specific written authorization to do so in advance
      by the U.S. Probation Officer.

   2. The defendant shall submit to a psycho-sexual evaluation by a qualified mental
      health professional experienced in evaluating and managing sexual offenders as
      approved by the U.S. Probation Officer. The defendant shall complete the
      treatment recommendations and abide by all of the rules, requirements, and
      conditions of the program until discharged. The defendant shall take all
      medications as prescribed.



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3. The defendant shall submit to risk assessments, psychological and physiological
   testing, which may include, but is not limited to a polygraph examination and/or
   Computer Voice Stress Analyzer (CVSA), or other specific tests to monitor the
   defendant's compliance ·with supervised release and treatment conditions, at the
   direction of the U.S. Probation Officer.

4. The defendant's residence, co-residents and employment shall be approved by
   the U.S. Probation Officer. Any proposed change in residence, co-residents or
   employment must be provided to the U.S. Probation Officer at least 10 days prior
   to the change and pre- approved before the change may take place.

5. The defendant shall not possess any materials depicting and/or describing "child
   pornography" and/or "simulated child pornography" as defined in 18 U.S.C. §
   2256, nor shall the defendant enter any location where such materials can be
   accessed, obtained or viewed, including pictures, photographs, books, writings,
   drawings, videos or video games.

6. The defendant shall comply with the requirements of the Sex Offender Registration
   and Notification Act (42 U.S.C. § 16901, et seq.) as directed by the probation
   officer, the Bureau of Prisons, or any state sex offender registration agency in which
   the defendant resides, works, is a student, or was convicted of a qualifying offense.

7. The defendant shall have no contact, including any association such as verbal,
   written, telephonic, or electronic communications with any person under the age
   of eighteen ( 18) except: I) in the presence of the parent or legal guardian of said
   minor; 2) on the condition that the defendant notifies the parent or legal guardian
   of their conviction or prior history; and, 3) has written approval from the U.S.
   Probation Officer. This provision does not encompass persons under the age of
   eighteen (18), such as ,vaiters, cashiers, ticket vendors, etc. with whom the
   defendant must deal, in order to obtain ordinary and usual commercial services.
   If unanticipated contact with a minor occurs, the defendant shall immediately
   remove himself/herself from the situation and shall immediately notify the
   probation officer.

8. The defendant shall not loiter within l 00 feet of any parks, school property,
   playgrounds, arcades, amusement parks, day-care centers, swinm1ing pools,
   community recreation fields, zoos, youth centers, video arcades, carnivals,
   circuses or other places primarily used or can reasonably be expected to be used
   by children under the age of eighteen ( 18), without prior written permission of the
   U.S. Probation Officer.




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   9. Except as required for employment (see Condition 4), the defendant shall not use,
      purchase, possess, procure, or otherwise obtain any computer (as defined in 18
      U.S.C. § 1030(e)(l )) or electronic device that can be linked to any computer
      networks, bulletin boards, internet, internet service providers, or exchange formats
      involving computers unless approved by the U.S. Probation Officer. Such
      computers, computer hardware or software is subject to warrantless searches and/or
      seizures by the U.S. Probation Office.

   10. The defendant shall allow the U.S. Probation Officer, or other designee, to install
       software designed to monitor computer activities on any computer the defendant
       is authorized to use, except for that of an employer. This may include, but is not
       limited to, sofuvare that may record any and all activity on computers (as defined
       in 18 U.S.C. § 1030(e)(l)) the defendant may use, including the capture of
       keystrokes, application information, internet use history, email correspondence,
       and chat conversations. The defendant shall pay any costs related to the
       monitoring of computer usage.

   11. The defendant shall not use or have installed any programs specifically and solely
       designed to encrypt data, files folders, or volumes of any media. The defendant
       shall, uponrequest, immediately provide the probation officer with any and all
       passwords required to access data compressed or encrypted for storage by any
       software.

   12. The defendant shall provide a complete record of all computer use information
       including, but not limited to, all passwords, internet service providers, email
       addresses, email accounts, screen names (past and present) to the probation
       officer and shall not make any changes without the prior approval of the U.S.
       Probation Officer.

   13. The defendant shall not have any social networking accounts on networks used or
       reasonably expected to be used by minors without the approval of the U.S. Probation
       Officer.

   14. The defendant shall not be employed in any position or participate as a volunteer in
       any activity that involves direct or indirect contact with children under the age of
       eighteen (18), and under no circumstances may the defendant be engaged in a position
       that involves being in a position of trust or authority over any person under the age of
       eighteen (18), without written permission from the U.S. Probation Officer.

IT IS FURTHER ORDERED that this Order shall supersede any previous order of the Court
establishing standard conditions of probation or supervised release.




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THIS 1 st day of January, 2021




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 Marti Reidi            �                               P · nk D. Whitney
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